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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR12-113-JCC

10          v.                                           DETENTION ORDER

11 WALTER WITTEN MOORING,

12                                Defendant.

13 Offenses charged:

14          Conspiracy,
            Burglary of United States Post Office,
15          Theft of United States Mail,
            Bank Fraud, and
16          Aggravated Identity Theft.

17 Date of Detention Hearing: June 6, 2012.

18          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

19 and based upon the factual findings and statement of reasons for detention hereafter set forth,

20 finds that no condition or combination of conditions which the defendant can meet will

21 reasonably assure the appearance of the defendant as required and the safety of any other person

22 and the community.

23



     DETENTION ORDER - 1
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 1             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2          The Court received no information about defendant other than he is serving a state

 3 sentence that is not up until August 2013. Defendant did not argue for release.

 4          It is therefore ORDERED:

 5          (1)    Defendant shall be detained pending trial and committed to the custody of the

 6 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 7 from persons awaiting or serving sentences, or being held in custody pending appeal;

 8          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 9 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11 Government, the person in charge of the correctional facility in which Defendant is confined

12 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

13 connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

15 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

16 Officer.

17       DATED this 6th day of June, 2012.

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                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
